           Case 1:19-cv-00099-JB-CG Document 51 Filed 04/12/19 Page 1 of 2


                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW MEXICO

                                              Clerk's Minutes
                                  Before the Honorable James O. Browning


CASE NO. CV 19-99 JB/CG                          DATE: April 12, 2019

TITLE: Great Divide Wind Farm 2 LLC v. Becenti Aguilar, et al

COURTROOM CLERK: C. Bevel                        COURT REPORTER: J. Bean

COURT IN SESSION: 3:12PM-4:34PM                  TOTAL TIME: 1 HR 22 MIN

TYPE OF PROCEEDING: 18 MOTION to Disqualify Counsel , 25 MOTION to Amend/Correct 18
MOTION to Disqualify Counsel

ATTORNEYS PRESENT FOR PLAINTIFF(S):              ATTORNEYS PRESENT FOR DEFENDANT(S):
 Jason Marks Adam Wenner, Jonathan                Judith Amer
 Guy


PROCEEDINGS:

3:12pm        Court in session counsel enter appearances, Jason Marks present in person, all other

counsel participating telephonically. Court thanks counsel for allowing hearing by phone while

he is in the Dallas Texas area. Court addresses counsel regarding inclination to take matter

under advisement until court has a better grasp. Court will be hearing Motion to Intervene and

Motions to Dismiss on Wednesday next week.

3:18pm        Ms. Amer responds, argues in support of Motion to Disqualify Counsel.

3:36pm        Mr. Guy responds, argues in opposition to Motion to Disqualify Counsel. Requests

court deny Motion.

4:01pm        Ms. Amer replies with final arguments in support of Motion.

4:25pm        Court is less inclined to grant the motion, not saying it is denied at this time, however

will continue to review and take under advisement and issue an opinion and will not stay the

case. Court will leave Mr. Mark’s in place at this time.
The Honorable James O. Browning                  -Page 1-                               Clerk’s Minutes
           Case 1:19-cv-00099-JB-CG Document 51 Filed 04/12/19 Page 2 of 2


4:28pm        Mr. Guy addresses Court with final points on Motion.

4:29pm        Ms. Amer responds.

4:30pm        Mr. Guy responds.

4:34pm        Court in recess.




The Honorable James O. Browning        -Page 2-                      Clerk’s Minutes
